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                                UNITED STATES DISTRICT COURT
                              FOR THE MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

 PEOPLE FOR THE ETHICAL TREATMENT            OF
    ANIMALS, INC.,

                        Plaintiff,

                        v.                         Case No.: 8:16-cv-2899-CEH-AAS

 DADE CITY’S WILD THINGS, INC., STEARNS Request for Oral Argument and
   ZOOLOGICAL RESCUE & REHAB CENTER, Evidentiary Hearing
   INC. D/B/A DADE CITY’S WILD THINGS,
   KATHRYN P. STEARNS, AND RANDALL E.
   STEARNS,

                        Defendants.

           EMERGENCY MOTION FOR PRESERVATION ORDER AND
      ORDER TO SHOW CAUSE WHY JOSEPH MALDONADO, JEFFREY LOWE,
          AND THE GREATER WYNNEWOOD EXOTIC ANIMAL PARK
                  SHOULD NOT BE HELD IN CONTEMPT

        Plaintiff People for the Ethical Treatment of Animals, Inc. (“PETA”) moves for:

 (1) an emergency preservation order, effective until the final disposition of this motion, directing

 Joseph Maldonado (aka Joe Schreibvogel or Joe Exotic) (“Maldonado”), Jeffrey Lowe (“Lowe”),

 and the Greater Wynnewood Exotic Animal Park (“Wynnewood”) to preserve all evidence

 relating to the tigers transferred from Dade City’s Wild Things (“DCWT”) to Wynnewood, and

 further preserve the tigers so that they cannot be transferred, transported (or otherwise relocated),

 or killed, commingled with other tigers, hand-reared, used for breeding, or subjected to direct

 contact with humans; and (2) an order to show cause why Maldonado, Lowe, and Wynnewood

 are not in contempt for aiding and abetting the violation of the Court’s Orders, (ECF Nos. 63

 & 69) (“July Orders”), requiring that Defendants make their tigers available to PETA for

 inspection and mandating that these tigers not be transferred, transported, relocated, or in any

 way harmed. PETA requests that the Court hold oral argument and an evidentiary hearing on this


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 motion and on PETA’s sanctions motion against DCWT (ECF No. 76), and estimates six (6)

 hours for such a hearing.

        An emergency preservation order is necessary to protect the tigers because Maldonado

 and Lowe have explicitly stated they will kill the tigers before they are transferred to The Wild

 Animal Sanctuary, Inc. (“TWAS”)—the world’s oldest and largest nonprofit sanctuary for

 captive wildlife—or to any reputable sanctuary accredited by the Global Federation of Animal

 Sanctuaries (“GFAS”). A preservation order is also necessary to protect the tigers from the harm

 they face by virtue of Wynnewood’s well-documented history of failing to provide the minimal

 level of care required by law. As recently as May, 2017, the United States Department of

 Agriculture (“USDA”) cited Wynnewood for failing to properly contain a tiger, resulting in

 Wynnewood killing the escaped tiger. A preservation order is also required to protect these tigers

 from the very practices that PETA challenged at the DCWT facility. See ECF No. 37.

        Since PETA is asking the Court to order the tigers transferred to TWAS, both here and in

 the pending DCWT sanctions motion (ECF No. 76), the tigers are in palpable danger of being

 killed, and the Court must issue an emergency preservation order to protect and preserve them.

 As set forth further below, any such preservation order must hold Maldonado, Lowe, and

 Wynnewood—and their employees, volunteers and agents—personally accountable if

 Wynnewood should move the DCWT tigers absent further order of the Court, or violate the

 Court’s order in any other way.

        To establish that a finding of contempt against Maldonado, Lowe, and Wynnewood is

 proper for their part in aiding and abetting DCWT’s violation of the Court’s July Orders, PETA

 requests an evidentiary hearing to allow the contemnors the opportunity to provide testimony so

 the Court may make the requisite credibility determinations.



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                                   MEMORANDUM OF LAW

 I.     INTRODUCTION

        DCWT’s extraordinary efforts to hastily relocate their tigers in defiance of the Court’s

 July Orders demonstrate unequivocally its contempt for this Court—but DCWT did not act

 alone. DCWT’s violation of the Court’s July Orders would not have been possible but for the

 knowing assistance of their various co-conspirators, including Kenneth Stearns,1 Maldonado

 (Wynnewood’s founder), and Lowe (Wynnewood’s CEO). These co-conspirators have so

 thoroughly injected themselves into this litigation that they operate as shadow parties whose sole

 purpose is to prejudice PETA. This they have accomplished in part by aiding and abetting

 DCWT’s violation of the July Orders—a conspiracy that caused the death of three tiger cubs,

 spoliated crucial evidence in this case, and attempted to deprive PETA of the relief it seeks.

        Clear and convincing evidence demonstrates that DCWT’s co-conspirators knew about

 PETA’s Endangered Species Act (“ESA”) citizen-suit against DCWT. They knew that DCWT’s

 tigers were the focus of PETA’s lawsuit to spare the tigers further “harm” or “harassment.” They

 knew, by July 12, 2017, that the Court had ordered a July 20, 2017, Site Inspection of DCWT so

 that PETA could inspect the tigers at DCWT. And they agreed to receive those tigers in order to

 undermine that very site inspection.

        That DCWT and Wynnewood conspired to accomplish this objective is not surprising.

 They are cut from the same cloth. Both breed tigers to separate newborn cubs from their mothers

 for use in lucrative public encounters. Both hate PETA intensely. Both routinely violate the

 federal Animal Welfare Act (“AWA”), so much so that the USDA, which administers the AWA,

 has taken rare enforcement action against them, levying fines and ordering both of their licenses


 1
        To avoid confusion and provide greater clarity, PETA will be filing a separate motion
 with regard to Kenneth Stearns’ conduct in violating the July Orders.

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 temporarily suspended. The only appreciable differences between the two are that Wynnewood’s

 operation is larger and only DCWT offers tiger cub swim encounters.

        Because DCWT did not act alone in violating this Court’s July Orders, the relief PETA

 seeks against DCWT in its sanctions motion (ECF No. 76) is not sufficient to make PETA or this

 Court whole. To accomplish that purpose, this Court can—and must—exercise its inherent

 authority and issue an order to show cause why Maldonado, Lowe, and Wynnewood should not

 be held in contempt as aiders and abettors to DCWT. When it finds them in contempt, this Court

 can and should order Maldonado and Lowe imprisoned until they purge themselves of that

 contempt by arranging for the immediate2 and permanent3 transfer of the tigers to TWAS.

        PETA filed suit against DCWT to protect these tigers and seek appointment of a guardian

 ad litem to ensure the relief granted would be consistent with the tigers’ best interest.

 Having moved the tigers, DCWT, Maldonado, Lowe, and Wynnewood believe they successfully

 thwarted PETA’s suit. They are mistaken. Their contempt did nothing to strip this Court of its

 jurisdiction over this case, over the evidence that is central to this matter, or over the parties and

 non-parties who conspired to violate this Court’s orders. By its conduct, DCWT did not just

 physically release the tigers to Wynnewood, it forfeited the right to have any say where the tigers

 live out the remainder of their lives. Likewise, by receiving the tigers in knowing violation of

 this Court’s July Orders, after aiding and abetting DCWT in violating these orders, and by

 threatening to kill the tigers should the Court issue further orders they disagree with, Maldonado,

 Lowe, and Wynnewood forfeited their right to possess these tigers, as described herein.

 2
         The transport of any pregnant or nursing tigers and/or their cubs may need to be delayed
 pending an expert’s determination that they are fit to travel. DCWT and Wynnewood’s
 conspiracy to relocate the tigers—knowing pregnant tigers were among the 19 delivered to
 Wynnewood—resulted in the death of three tiger cubs born en route to Oklahoma.
 3
         The transfer must be permanent as an interim transfer would not be in the best interests of
 the tigers.

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        A clearer case of spoliation and contempt could not be made. But for Maldonado, Lowe,

 and Wynnewood, DCWT would not have been able to effectuate its scheme to “outsmart” PETA

 by removing the tigers because—in the words of co-conspirator Kenneth Stearns—“With no

 tigers, how they gonna prove tiger abuse?” See Exh. 1, Justin Cochran Declaration (“Cochran

 Decl.”), ¶ 3(a), Video 1 (03:05-03:20); transcribed and attached as Exh. 3 at 4:3-6 (“I get that

 they’re losing but you can’t win them all including them. You know, even with all their money

 and us broke, sometimes somebody outsmarts your ass.”); see also Cochran Decl., ¶ 3(b),

 Video 2 (12:11-12:20); transcribed and attached as Exh. 4 at 10:11-13 (“They know they ain’t

 got nothing. With no tigers, how they gonna prove tiger abuse?”).

        To correct these transgressions, this Court should not only hold DCWT in contempt (ECF

 No. 76), but also hold Maldonado, Lowe, and Wynnewood in contempt as well. Alternatively,

 the Court may simply order Maldonado, Lowe, and Wynnewood to arrange for the immediate

 and permanent transfer of the tigers to TWAS, and if they refuse to do so, then take the next step

 toward contempt and sanctions. As explained below, the Court has both the power and the

 jurisdiction over Maldonado, Lowe, and Wynnewood to accomplish this end.

 II.    RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

          A.      This Court’s July Orders were Violated When Wynnewood Acquired
                  Nineteen Tigers That Were Hastily Relocated from Florida to Oklahoma.

        On July 12, 2017, the Court ordered DCWT to make its facilities and tigers available to

 PETA for inspection on July 20, 2017. (ECF No. 63). On July 14, 2017, the Court explicitly

 prohibited the transfer, transport, relocation, or harm of DCWT’s tigers. (ECF No. 69).

        Two days later, on July 16, 2017, a double decker cattle trailer packed with nineteen of

 DCWT’s twenty-four tigers arrived at Wynnewood, located in Oklahoma. See Exh. 5, Tracey

 McManus, “Dade City’s Wild Things moves tigers to Oklahoma during court battle with PETA,”


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 Tampa Bay Times (July 17, 2017) (confirming the tigers’ arrival at Wynnewood);4

 ECF No. 76-9, Declaration of Jay Pratte ¶¶ 9-13 (discussing video of Maldonado unloading the

 tigers from the cattle trailer); Cochran Decl., ¶ 3(c) and ¶ 4, Exh. 1-2 at 400028-31 (transfer form

 and certificates of veterinary inspection dated July 14, 2017).

        Inside the trailer were the bodies of three dead tiger cubs born during the 1200-mile trip

 from Florida to Oklahoma. See ECF No. 76-9, Pratte Decl., ¶ 13 (discussing dead cubs); Cochran

 Decl., ¶ 3(d), Video 4 (7:05-7:52) (filming the dead cubs, Maldonado remarked, “I want to show

 you what f--king PETA is responsible for, for suing this lady and making her get rid of these

 tigers. . . . Because they forced this woman to move these cats . . . she had every one of those

 babies in this trailer . . . they’re dead. Three dead cubs at the hands of f--king PETA.”);

 ECF No. 76-4 (map of distance between DCWT and Wynnewood).

        Four days prior, on July 12, 2017—the same day this Court granted PETA’s Motion to

 Compel Entry Upon Land and Site Inspection (ECF Nos. 56 & 63)—Maldonado, Wynnewood’s

 founder, exchanged text messages with Lowe, Wynnewood’s CEO,5 stating that evening, “Peta

 won in court today.” Cochran Decl., ¶ 4, Exh. 1-2 at 400023-27. According to Maldonado,

 Kathy Stearns told him she “needed to get rid of her tigers” because of “a lawsuit with PETA”

 and she asked him to “take the cats until she figured something out.” Exh. 5, Tampa Bay Times.

        Maldonado confirmed his knowledge to PETA during a voluntary July 26, 2017,

 telephone interview wherein he openly admitted that he and “everybody in the business” knew

 Kathy Stearns was having trouble with PETA, and that he knew that PETA had sued DCWT. See



 4
        Available at http://www.tampabay.com/news/environment/wildlife/dade-citys-wild-
 things-moves-tigers-to-oklahoma-during-court-battle-with/2330691.
 5
        See Exh. 6, Brianna Bailey, “OKC Officials Investigate Bear, Tiger Petting Zoo,” News
 OK (June 15, 2017), http://newsok.com/article/5552904 (identifying Maldonado as
 Wynnewood’s founder and noting Maldonado sold Wynnewood to Lowe in 2016).

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 Exh. 7, Jim Orr Declaration (“Orr Decl.”), ¶ 11. He further said that Kathy Stearns told him

 PETA had won in court and there would be a site inspection of DCWT, and that she had to get

 rid of the tigers. Id. Maldonado believed Stearns was embarrassed about the tigers’ condition. Id.

         On June 21, 2017, Lowe referred to Brittany Peet, counsel to PETA, as “delusional” and

 “a misleading, lying c-nt” and, to substantiate his vulgar attack, he linked to an article

 referencing PETA’s “pending lawsuit against [DCWT], alleging that encounters like the tiger

 swim violate the Endangered Species Act.” Cochran Decl., ¶ 5(a), Post 1. That same day, Lowe

 made a related post admitting his intentional interference in this suit, telling PETA “You

 dumbasses have run into the guy here that will stop you from terrorizing people that conduct

 legal activities. . . . I can’t wait to meet you . . . inside a courtroom.” Id. at ¶ 5(m), Post 13. Six

 days later, Maldonado expressed a similar sentiment. Id. at ¶ 5(n), Post 14 (he is “ready for this

 dog fight” “over these 19 tigers” and wants to “finally gets some of this sh-t out in federal

 court.”).

         There is no dispute that Maldonado and Lowe knew of PETA’s lawsuit against DCWT,

 knew the Court had ordered PETA’s site inspection at DCWT, and agreed to “take the cats until

 she figured something out.” Orr Decl., ¶ 11. Pursuant to that illegal agreement, Kenneth Stearns,

 DCWT’s Vice President6 and Kathy Stearns’ husband, loaded nineteen of DCWT’s tigers into

 the cattle trailer, which arrived at Wynnewood on July 16, 2017—four days after the Court’s

 July 12 Order and two days after the Court’s July 14 Order. (ECF Nos. 63 & 69) Maldonado’s

 and Lowe’s knowledge, coupled with their act of taking the tigers from DCWT, establishes their

 role as DCWT’s aiders and abettors in violating the July Orders.

 6
        See Exh. 8, Sunbiz.org, Detail by Entity Name, Dade City’s Wild Things, Inc. (listing
 “Stearns, Kennath” [sic] as Vice President of DCWT’s not for profit corporation, which was
 voluntarily dissolved earlier this year in response to a pending investigation by the Florida
 Department of Agriculture for suspected charitable fraud).

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          B.        Maldonado’s and Lowe’s Other Conduct Further Demonstrates That They
                    Are Acting in Concert with DCWT to Spoliate Evidence and Make a
                    Mockery of this Court’s Proceedings.

        There is no question that Maldonado and Lowe are acting in concert with and as DCWT

 proxies to prejudice PETA. No other reasonable explanation exists as to why Maldonado and

 Lowe—non-parties to this lawsuit against DCWT—have gone to remarkable lengths to

 undermine this proceeding. Their conduct establishes that they are anything but innocent

 bystanders here.

        Indeed, since they took the tigers from DCWT, Maldonado has repeatedly threatened to

 kill them in lieu of transferring them to TWAS. Orr Decl., ¶ 12; see also Cochran Decl., ¶ 5(b),

 Post 2 (commenting “I would euthinize [sic] them all before they went to pat craig or bcr”); Exh.

 9, Tracey McManus, “PETA inspects Dade City’s Wild Things but welfare of tigers still in

 question”, Tampa Bay Times, (Aug. 4, 2017).7 Lowe agrees. Cochran Decl., ¶ 5(i), Post 9

 (“TRUE, TRUE, TRUE: But he said he would “euthanize them before they go to Pat Craig,”

 because of objections to his work with PETA and conditions of his facility.”). To conceal the

 tigers from PETA and this Court, Lowe has also threatened to commingle the DCWT tigers with

 other tigers at Wynnewood—even after PETA notified Oklahoma attorney Justin Meek that

 Wynnewood could not commingle the DCWT tigers with Wynnewood’s other tigers. See

 Exh. 10, July 20, 2017 Letter from M. Hasbun;8 Cochran Decl., ¶ 5(c), Post 3 (commenting

 “I think it’s time to move 19 of our tigers in with 19 Florida tigers. Let the expert, Jay Pratte sort



 7
        Available at http://www.tampabay.com/news/environment/wildlife/peta-inspects-dade-
 citys-wild-things-but-welfare-of-tigers-still-in/2332750.
 8
        In a July 17, 2017, e-mail to Marcos Hasbun, Lowe copied Oklahoma attorneys Justin
 Meek and Melanie Christians. See Cochran Decl., ¶ 7. Preliminary discussions ensued with Mr.
 Meek relative to the DCWT tigers at Wynnewood, but Mr. Meek and Ms. Christians later
 advised the undersigned they would not be representing Lowe, Maldonado or Wynnewood in
 connection with this matter.

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 them out.”); see also Exh. 11, Jay Pratte Declaration (“Pratte Decl.”), ¶¶ 7-16 (detailing

 Maldonado’s and Lowe’s “online “smear” campaign” and the resulting impact).

        Such commingling would frustrate PETA’s ability to obtain the judgment it seeks, not

 least of all because PETA could be forced to examine more than 200 big cats at Wynnewood to

 identify the DCWT tigers. Exh. 5, Tampa Bay Times (Wynnewood confines 246 lions and tigers

 on 54 acres). Troublingly, recent video evidence suggests Maldonado may have begun

 commingling the tigers. See Cochran Decl., ¶ 3(e), Video 5 (Pearl, identified as a DCWT tiger, is

 interacting with tigers who are apparently named Rocky, Sasha, and Merlin); Cochran Decl., ¶ 4,

 Exh. 1-2 at 400029-31 (transport paperwork shows DCWT sent Wynnewood tigers named Pearl

 and Rocky, but none named Sasha or Merlin).

        Even more extraordinary, to further prejudice PETA, these shadow parties have engaged

 in a campaign to harass and attempt to intimidate Jay Pratte, PETA’s expert witness, who

 submitted a declaration filed with this Court in connection with PETA’s motion for sanctions

 against DCWT. (ECF No. 76-9). See Exh. 11, Pratte Decl., ¶¶ 7-16 (describing harassment);

 Cochran Decl., ¶ 5(c)-(j), Posts 3-10. Shortly after Pratte’s first declaration was filed with this

 Court, Maldonado and Lowe urged their followers on Facebook to harass Mr. Pratte. See Pratte

 Decl., ¶ 7 (harassment began two days after first declaration was filed); see also Cochran Decl., ¶

 5(d), Post 4 (posting, “Please help me prove that PeTA’s big cat expert is what I think he is. . . .

 Let’s get this clown on perjury. . . . If anyone is bored and would like to research this Omaha zoo

 employee that thinks he’s Steve Irwin,” and commenting about calls Lowe made to Mr. Pratte’s

 former employers) and ¶ 5(e), Post 5 (commenting “their text book expert that thinks he knows

 what is happening in a video has no CLUE . . . in one sentence they say they are solitaire [sic]




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 animals, next sentence they want them all living one compound at pat craigs. Make up your f--

 king mind”).

        Lowe’s wife, Lauren Dropla, openly harassed Mr. Pratte by engaging in an outright

 fraud. On July 28, 2017, she called Mr. Pratte’s current employer and falsely stated that

 Mr. Pratte was looking for work elsewhere. See Pratte Decl., ¶ 16 and Exh. 11-2 (call log

 showing Dropla told Mr. Pratte’s employer that he had applied for a position in “behavioral

 husbandry” at the “Oklahoma Zoo”); see also Exh. 12, Accurint Phones Plus Search Results

 (Aug. 9, 2017) (phone number listed on call log is the possible cell phone of Lauren Dropla of

 Wynnewood, Oklahoma); Exh. 13, “Lauren Dropla, Jeffrey Lowe marry in Las Vegas, The State

 (July 23, 2017). This call, and those placed by Lowe to Mr. Pratte’s former employers “created

 the perception that [Mr. Pratte is] unhappy with [his] current employers,” which “resulted in

 peers and colleagues questioning” his dedication and integrity. Pratte Decl., ¶ 16.

        Mere bystanders, acting independently of a party to a litigation do not engage in such

 conduct. Rather, Maldonado, Lowe, and Wynnewood have taken every opportunity to act in

 concert with DCWT, beginning with the moment they agreed to take the DCWT tigers, knowing

 DCWT wanted to relocate the tigers to undermine the Court-ordered site inspection. Boasting

 about this subterfuge, Kenneth Stearns explained DCWT’s and Wynnewood’s motivations best:

 “With no tigers, how they [PETA] gonna prove tiger abuse?” Cochran Decl., ¶ 3(b), Video 2,

 (12:11-12:20); Exh. 4, Transcript, 10:12-13.

        Meanwhile, Maldonado and Lowe have broadcast their intentions to interfere with this

 case. See, e.g., Cochran Decl., ¶ 5(c), Post 3 (“Lets [sic] see you explain [wanting to move

 pregnant tigers] to an Oklahoma judge”), ¶ 5(m), Post 13 (wanting to meet PETA “inside a

 courtroom”), and ¶ 5(n), Post 14 (“you have drug the wrong dog in this dog fight over these



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 19 tigers . . . let’s finally get some of this sh-t out in federal court.”). DCWT even let Lowe speak

 for them in a joint notice to this Court, expressing Lowe’s position on the proper disposition of

 the tigers in place of their own. See ECF No. 89 (Lowe asserts that the tigers “will not be going

 anywhere especially Pat Craig’s facility in Colorado or any other GFAS facility for that

 matter.”).

        Likewise, they have made clear their intentions to further spoliate the evidence by

 breeding the tigers and hand-rearing and exhibiting the resulting cubs, and both Maldonado and

 Lowe have had direct contact with the adult tigers, a practice that places the tigers at risk of

 injury or death as they could be shot if they attack a person or attempt an escape. See Cochran

 Decl., ¶ 5(k)-(l), Posts 11-12 (Maldonado and Lowe having direct contact with the DCWT

 tigers). The facility has been repeatedly cited by the Occupational Safety and Health

 Administration (“OSHA”) for allowing employees to have direct contact with big cats and other

 predators. See Exh. 14, OSHA Citation and Notification of Penalty (Nov. 9, 2016). Earlier this

 year a Wynnewood tiger was shot and killed after she escaped. Exh. 15, USDA Inspection

 Report (May 30, 2017). This was just one of many citations in Wynnewood’s well-documented

 history of AWA violations. See ECF No. 67 (Wynnewood has been cited repeatedly by the

 USDA and is currently under investigation for the deaths of dozens of tiger cubs, and, in a rare

 enforcement action, was fined $25,000 and had its license suspended).

 III.   LEGAL ANALYSIS

        A.      The Court May Hold Non-Parties Who Aid and Abet the Violation of its
                Orders in Civil Contempt.

         DCWT and its co-conspirators intentionally derailed this case and thrust it into a

 complete state of disarray such that the Court must take action to restore order by requiring

 Maldonado, Lowe, and Wynnewood to show cause why they should not be held in civil


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 contempt.9 Pursuant to their “inherent authority, courts may impose fines or prison for contempt

 and enforce ‘the observance of order.’” Stanley, Inc. v. Creative Pipe, Inc., 269 F.R.D. 497, 518

 (D. Md. 2010).10

        This Court “has a wide discretion in its choice of sanctions” and is empowered to issue

 them “to protect the due and orderly administration of justice and maintain the authority and

 dignity of the court.” Goya Foods, Inc. v. Wallack Mgmt. Co., 290 F.3d 63, 77-78 (1st Cir.

 2002). The fact that Maldonado, Lowe, and Wynnewood “[a]re not part[ies] to [the underlying

 action] against [DCWT] does not inoculate them against charges of civil contempt.” Id. at 75.

 “Nonparties may be held liable for civil contempt notwithstanding their nonparty status” because

 “[i]t has long been recognized that a nonparty may be held in civil contempt if, and to the extent

 that, he knowingly aids or abets an enjoined party in transgressing a court order.” Goya Foods,

 Inc., 290 F.3d. at 75; see, e.g., S.E.C. v. Homa, 514 F.3d 661, 674 (7th Cir. 2008) (“If courts did

 not have the power to punish [non-parties] who cooperate with those named in an injunction, the

 named parties could easily thwart the [court’s order] by operating through others.”).




 9
         The Court may also consider holding them in criminal contempt. However, unlike
 DCWT, which, as discussed in PETA’s sanctions motion against DCWT (ECF No. 76) can do
 nothing at this point to purge itself of its contempt, meaning criminal contempt is an appropriate
 measure, Maldonado, Lowe, and Wynnewood have the opportunity to surrender the tigers and
 thereby purge themselves of the contempt they have placed themselves in by knowingly aiding
 and abetting DCWT in the violation of the Court’s July Orders.
 10
         In Stanley, the Court ordered a party contemnor “be imprisoned for a period not to exceed
 two years, unless and until he pays to Plaintiff the attorney’s fees and costs that will be awarded”
 to remedy his “pervasive and willful violation of serial Court orders to preserve and produce . . .
 evidence.” 269 F.R.D. at 500. See also Int’l Union, United Mine Workers of Am. v. Bagwell,
 512 U.S. 821, 828 (1994) (“The paradigmatic coercive, civil contempt sanction . . . involves
 confining a contemnor indefinitely until he complies with an affirmative command such as an
 order ‘to pay alimony, or to surrender property, . . . or to make a conveyance.’”); In re Dinnan,
 625 F.2d 1146, 1149 (5th Cir. 1980) (“A fixed term of imprisonment, with the proviso that the
 contemnor will be released if he complies with the court order, is a proper penalty for civil
 contempt and the imposition of such a penalty does not make the proceeding criminal . . . .”).

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        As discussed, Maldonado, Lowe, and Wynnewood were acutely aware that on

 July 12, 2017, the Court had ordered PETA’s site inspection of DCWT to take place on

 July 20, 2017. By July 13, 2017, they executed their plan with DCWT to have DCWT’s tigers

 relocated before that site inspection occurred. Since PETA sent the July 14, 2017 Order

 (ECF No. 69) to the Wynnewood non-parties on July 17, 2017,11 they have done nothing to try to

 remedy the wrong that they expressly aided and abetted DCWT in committing. Instead, they

 have taken and threatened to take steps to further prejudice PETA—commingling the tigers,

 making direct contact with them, and delighting in the possibility of breeding them, hand-rearing

 their young, and profiting off the exploitation of the cubs. See Cochran Decl., ¶ 3(c), Video 3

 (9:45-10:07) (Maldonado, examining a male tiger’s reproductive organs, says “we got 19 more

 breeders” and “we’re going to populate the world”) and ¶ 3(f), Video 6 (explaining that all cubs

 born at Wynnewood are removed from their mothers immediately after birth); ¶ 4, Exh. 1-2

 at 400024-25 (Lowe confirms 17 of the DCWT tigers are of breeding age, Maldonado notes

 three are “pregnut” [sic], and Lowe comments that the “those cubs would feed the lot of them for

 a while anyway” and agrees to take them); and ¶ 5(k)-(i), Posts 11-12 (Maldonado and Lowe

 having direct contact with the tigers). The reason for their failure to take corrective action is

 obvious: they have been aiding and abetting DCWT since entry of the July 12 Order, and

 continue to aid and abet DCWT to this day.

        B.     Maldonado, Lowe, and Wynnewood Knowingly Aided and Abetted the
               Violation of the Court’s Orders.

        A non-party may be held in contempt for aiding and abetting if he “[knew] of the

 judicial decree, and nonetheless act[ed] in defiance of it” and did so “for the benefit of, or to



 11
        PETA first sent a copy of the July 14, 2017, Order to Lowe, Maldonado and Wynnewood
 on July 17, 2017. See Cochran Decl., ¶¶ 6-7.

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 assist, a party subject to the decree.” Goya Foods, Inc., v. Wallack Mgmt. Co., 290 F.3d 63, 75

 (1st Cir. 2002). Knowledge can be established through circumstantial evidence. Waffenschmidt v.

 MacKay, 763 F.2d 711, 725 (5th Cir. 1985).

        In Waffenschmidt, circumstantial evidence established that two out-of-state non-party

 contemnors had actual knowledge of a court order freezing Treasury Notes they received from

 MacKay, their co-conspirator, and knowingly aided and abetted MacKay in concealing those

 funds. Here, as in Waffenschmidt, there is ample evidence to establish that Maldonado, Lowe,

 and Wynnewood knew about and aided DCWT in knowingly violating this Court’s valid orders;

 and there is no way to explain their involvement in this case other than as bad faith.

        In Waffenschmidt, the court considered the non-parties’ “activities relating to the

 disposition of the funds” to determine they had actual knowledge of the order. Waffenschmidt,

 763 F.2d at 723-26. One factor was timing: the non-parties received the T-notes from MacKay

 two days after the court issued a temporary restraining order freezing the funds. Id. Here,

 Maldonado and Lowe received the tigers within days of the court orders prohibiting DCWT from

 moving them. See, e.g., ECF No. 76-2, Tampa Bay Times at 6A (Maldonado confirmed receipt

 of the tigers on July 16, 2017). The court also considered the haste with which the non-parties

 dissipated the funds: both cashed the T-notes before their maturity date. Waffenschmidt, 763 F.2d

 at 723-26. Here, DCWT hastily transferred the tigers, in the heat of the summer and when at least

 one was extremely pregnant. See Cochran Decl., ¶ 3(d), Video 4 (cubs born in transit died) and ¶

 4, Exh. 1-2 at 400024 (Maldonado and Lowe knew three tigers were “pregnut”); and

 ECF No. 67-2, Exh. 10 at 14:2 (Kathy Stearns knew some of the tigers were pregnant).

 Maldonado and Lowe then hastily took in the tigers, rushing to raise funds and make room for

 the animals. See ECF No. 67-2, Hasbun Decl., ¶¶ 8-11 (discussing the fundraising plea).



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        In Waffenschmidt, the non-party contemnors were found to have had actual knowledge of

 the court’s order despite the fact that they were not served with anything from the court until

 months after they accepted the funds they helped conceal. Waffenschmidt, 763 F.2d at 723-26.

 Likewise, Maldonado and Lowe had actual knowledge of the July 12 Order; indeed, that same

 day their text message exchange explicitly confirms they knew “Peta won in court today,” and

 Maldonado has further acknowledged both to the media and to PETA that he knew DCWT

 wanted to get rid of the tigers to undermine the Court ordered site inspection. ECF No. 76-2

 at 6A (““All I know is (Stearns) called me and asked if I could take the cats until she figured

 something out,” Maldonado said. “Something to do with a lawsuit and PETA and she needed to

 get rid of her tigers.””); see Exh. 7, Orr Decl., ¶ 11 (“Mr. Maldonado responded that “everybody

 in the business” knew she was having trouble with PETA, and he knew that PETA had sued

 DCWT. [He] said that Kathryn Stearns told him that PETA had won in court, that there would be

 a site inspection of DCWT by PETA, and that she had to get rid of the tigers. [He] said he

 thought Kathy Stearns was embarrassed about the tigers’ condition [and] that the tigers arrived at

 Wynnewood . . . in bad condition.”).

        To determine whether the non-party contemnors acted to assist MacKay in dissipating

 funds, the Waffenschmidt court considered inconsistencies in the testimony given by the

 non-parties and found the pair were not credible. Waffenschmidt, 763 F.2d at 723-26. Here,

 Maldonado and Lowe have been anything but consistent, raising competing stories about when,

 how, and why they decided to take in the tigers. On July 16, 2017, Maldonado said he arranged

 the transport with Kathy Stearns because of the lawsuit, ECF No. 76-2, Tampa Bay Times at 6A.

 The next day, he attributed the arrangement to Kathy’s having grown “tired of the hassle.”

 Cochran Decl., ¶ 6. The day after that, Maldonado said he actually made arrangements to take



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 the tigers from Kenneth Stearns, who needed to give up the tigers because he was sick.

 ECF No. 76-10, ¶ 2. On July 26, 2017, Maldonado again said Kathy made the arrangements, this

 time admitting the move occurred because PETA “won in court.” Orr Decl., ¶ 11.

        Lowe, meanwhile, has offered several different timelines for the transfer, including one

 that was demonstrably false. See Exh. 5 at 3-4 (“the Judge signed [the July 14 order] on Friday.

 The tigers were moved on Thursday.”) and Cochran Decl., ¶ 4, Exh. 1-2 at 400028-31 (transfer

 began Friday). Lowe’s dishonesty is not surprising; he is a convicted felon who defrauded a

 charity out of more than one million dollars in goods.12

        Maldonado has also taken shifting positions on whether he has any interest in keeping the

 tigers. On July 17, 2017, he proclaimed the tigers would stay at Wynnewood “until they die of

 old age.” Exh. 16, Sydney Grey, “Joe Exotic brings 19 new tigers to park”, KXII Fox News 12,

 (July 17, 2017).13 The next day, he disavowed any interest in the tigers and expressed a

 willingness to rehome them. ECF No. 76-10, Hasbun Decl., ¶ 2 (Maldonado voicemail) (“If you

 want 19 tigers, send you a semi up here, we’ll load them right back up for you. Because I don’t

 need to feed 19 tigers and I don’t need to have 19 tigers. I was doing Kenneth a favor because he

 is sick. Other than that I don’t know sh-t. I don’t want to be involved in sh-t”); Cochran Decl., ¶

 8, Exh. 1-1. The next day he again said the tigers were at Wynnewood “to stay.” Exh. 17, Aaron

 Brilbeck, “Local Zoo Takes In 19 Tigers Despite Court Order,” News 9 (Jul 19, 2017).14

        On July 26, 2017, Maldonado first stated that he would sooner kill the tigers than

 surrender them to the reputable facility that PETA has identified. Orr Decl., ¶ 12. Between then

 12
         Lowe’s indictment, plea agreement and conviction are relevant and admissible pursuant
 to Fed. R. Evid. 609(a)(1)(A). See Cochran Decl., ¶¶ 9-11.
 13
         Available at http://www.kxii.com/content/news/Joe-Exotic-brings-19-new-tigers-to-park-
 435044233.html.
 14
         Available at http://www.news9.com/story/35925757/local-zoo-takes-in-19-tigers-despite-
 court-order.

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 and August 4, 2017, Wynnewood took the position that it would only allow for the relocation of

 the tigers to “facilities of [Wynnewood’s] choice,” provided PETA paid Wynnewood $1900 per

 day for “housing, feeding and vet care and the cost of relocating [the tigers] again” plus $10,000

 for unloading and reloading the cats, and demanding reimbursement for caging materials.

 See Cochran Decl., ¶ 4, Exh. 1-2 at 400002 and ¶ 5(i), Post 9. Yet on August 4, 2017, the day

 before Lowe reiterated this ransom demand, Maldonado claimed he did not want to be involved

 in the dispute and was willing for PETA to take the animals, but he again said he would

 “euthanize them before they go to Pat Craig” at TWAS. Exh. 9, Tampa Bay Times.

        Taken together, it is clear that Maldonado and Lowe will say whatever suits them best at

 any given time, and will do whatever they can to exploit the tigers and thwart PETA’s lawsuit

 and the judicial process.

        C.      Federal Courts Have Inherent Power to Address Third-Party Conduct
                Averse to a Court’s Discovery Orders.

        The issue of non-parties violating a court’s order most frequently arises in the context of

 injunctions, but courts have also addressed the issue in the context of non-injunctive orders,

 including, for example, violations of discovery orders. Because the July Orders at issue here are

 discovery orders, the approaches taken by the courts in Eli Lilly & Co. v. Gottstein, 617 F.3d 186

 (2d Cir. 2010), Quinter v. Volkswagen of Am., 676 F.2d 969 (3d Cir. 1982), and Hunt v. Enzo

 Biochem, Inc., 904 F. Supp. 2d 337 (S.D.N.Y. 2012) are instructive. Distilled to their essence,

 these cases make clear that this Court (a) has jurisdiction over out-of-state non-parties; (b) may

 order non-parties who have received evidence in violation of a court’s discovery order to transfer

 that evidence elsewhere; and (c) may hold non-parties in civil contempt.

        In Eli Lilly, drug manufacturer Eli Lilly sought and received an injunction against James

 Gottstein, a non-party attorney, to prevent the further dissemination and require the return of


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 confidential documents Gottstein had conspired to receive and disseminate in violation of a

 protective order entered in litigation against Eli Lilly. Eli Lilly had produced to David Egilman,

 the plaintiff’s expert witness, confidential documents subject to the order. 617 F.3d at 189.

 Egilman signed the protective order, but wanted to distribute the documents to the media.

 Because the order prohibited him from doing so, he conspired with James Gottstein, a non-party

 attorney, who was not a signatory to the protective order, to evade its requirements. Id.

        To that end, Gottstein issued a subpoena to Egilman for, among other things, the

 confidential documents that were subject to the protective order. Id. Egilman hastily produced a

 large volume of the protected documents to Gottstein, who then disseminated them, such that the

 media published a number of front-page articles based on the information therein. Id. Eli Lilly

 moved for and received an injunction barring non-party Gottstein from further disseminating the

 documents and ordering the documents returned to Eli Lilly. Id.

        Here, DCWT, like Egilman, conspired with a non-party to violate a binding discovery

 order. Here, the non-parties, Maldonado, Lowe, and Wynnewood, like Gottstein, had actual

 knowledge of the discovery order and yet conspired and coordinated with the bound party to

 violate that order by taking possession of evidence (in this case tigers) that was encumbered

 thereby. Thus, here, as in Eli Lilly, this Court can exercise its inherent powers to order the

 evidence removed from the possession of the non-party co-conspirators.

        In Eli Lilly, the Second Circuit found the district court had jurisdiction to enjoin a

 non-party who aided and abetted the violation of a protective order, noting among other things,

 that “Rule 26 neither provides nor suggests that courts lack the power to enjoin non-parties or

 non-signatories who aid and abet the violation of their discovery orders,” and that the “relevant

 case law”—including Waffenschmidt—“is against Gottstein’s position.” Id. at 194-95. Since Eli



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 Lilly had not sought to hold Gottstein in contempt for aiding and abetting Egilman’s violation of

 the protective order, the case’s holding did not encompass that issue, but the Second Circuit

 nonetheless noted that “[i]f courts cannot bind third parties who aid and abet the violation of

 their protective orders, then any party, agent, attorney, or expert who comes into possession of

 material he wanted to use against the producing party could simply disseminate [it] . . . [which]

 would eviscerate courts’ ability to manage discovery, and hence, litigation.” Id. at 195.

        Here, as in Eli Lilly, this Court can and should divest the non-party co-conspirators of the

 relevant evidence and prevent further dissemination of the tigers. Further, as the Second Circuit

 noted in dicta, the Court is fully empowered to order the non-parties to show cause why they are

 not in contempt for aiding and abetting the violation of a discovery order—something that is

 particularly appropriate here given the uniquely egregious nature of the conduct at issue.

        In fact, this is exactly what the court did in Quinter, where a district court found a third

 party, Byron Bloch, in civil contempt for violating a protective order prohibiting the disclosure

 of certain documents deemed to be trade secrets by Volkswagen. 676 F.2d at 971. The district

 court fined Bloch, the plaintiff’s consultant and expert witness, for violating that order when he

 provided some of the documents to another lawyer who had hired him as a consultant in another

 case filed against Volkswagen. Id.

        On appeal, Bloch argued the protective order, “did not apply to him because he was only

 an expert witness and was neither the ‘plaintiff nor his counsel’ referred to in the Order.” Id. The

 Third Circuit rejected that argument, noting that Bloch “need not be expressly named in the

 Protective Order in order to be held liable for civil contempt” because “[a] person who is not a

 party to a proceeding may be held in contempt if he or she has actual knowledge of a court’s

 order and either abets the defendant or is legally identified with him.” Id. Because the district



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 court concluded that Bloch had knowledge of the protective order (and, as the plaintiff’s expert,

 was also legally identified with the plaintiff), the Third Circuit held that “[i]f he violated the

 Order, he is not immune from liability for civil contempt, even though he was not a party to the

 original decree.” Id. at 973. The Third Circuit affirmed that Bloch was in contempt when he gave

 an attorney protected documents in violation of the discovery order. Id. at 974-75.

        Here, as in Quinter, non-parties Maldonado, Lowe, and Wynnewood took possession and

 control over evidence subject to a discovery order. Like Bloch, DCWT’s co-conspirators knew

 that the discovery order prohibited their actions. Here, as in Quinter, Maldonado, Lowe, and

 Wynnewood can and should be held in contempt for knowingly violating this Court’s orders.

        Finally, in Enzo Biochem the court found it had jurisdiction over out-of-state non-party

 Lawrence Glaser, who had assisted a party, Paul Lewicki, in removing confidential documents

 from Lewicki’s attorney’s office. 904 F. Supp. 2d at 341. Glaser’s actions, taken despite a

 general knowledge of the existence of a protective order binding Lewicki, were sufficient to

 establish minimum contacts with the court’s forum such that the court could reasonably order

 him to engage in the affirmative act of returning the confidential documents he acquired from a

 party in violation of that court’s protective order. Id. at 342-43, 346. The court noted that:

            Glaser is a ‘[non-party] who resides outside the territorial jurisdiction’ of
            this Court, yet he is ‘subject to [this] court’s jurisdiction [because he
            had] actual notice of the court’s order,’ [and] actively aid[ed] and
            abet[ted] a party in violation of that order. Glaser may not have known
            the specifics of the Protective Order, but he did know of its existence
            and he was aware it applied [to the parties and their counsel]. At some
            point, Glaser became aware that [the document were confidential, and
            that plaintiff and plaintiff’s counsel] ha[d] violated the Protective Order
            by sharing them with him. Rather than returning or ceasing to use these
            improperly-obtained documents, Glaser exacerbated the consequences
            of the violation by using them [in another case]. Even now, Glaser
            refuses to return the documents. These actions constitute aiding and
            abetting [plaintiff’s and plaintiff’s counsel’s] violation of the
            Protective Order. . .


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 904 F. Supp. 2d at 347. The court then ordered the return of the documents based on the court’s

 “interest in ensuring that its orders are followed.” Id. at 349.

        Here, like Glaser, Maldonado, Lowe, and Wynnewood are out-of-state non-parties who

 used their resources (in this case cages at their facility) to facilitate DCWT’s violation of a

 discovery order that they knew this Court had issued. Here, as in Enzo Biochem, the non-party

 co-conspirators subjected themselves of this Court’s jurisdiction by taking steps to exercise

 control over and remove evidence that this Court had ordered should remain in place. Here, as

 there, the non-party co-conspirators have not returned or ceased to use the improperly-obtained

 evidence. Thus, here, as in Enzo Biochem, this Court can and should, out of its interest in

 ensuring its orders are followed, issue an order requiring Maldonado, Lowe, and Wynnewood to

 arrange for the immediate and permanent transfer of the tigers to TWAS.

        While the Enzo Biochem court concluded that it had jurisdiction to order Glaser to return

 the confidential documents, under the facts at issue there, the court stopped shy of “imposing

 aiding and abetting ‘liability’ or ‘punishing him for violating the Court’s orders” because it was

 “less clear” whether the Court had “jurisdiction to sanction him for his past actions or otherwise

 find him ‘liable’” because the court had not held that Glaser “violated any order of this Court.”

 Id. at 347-48. The Enzo Biochem court made clear, though, that “should Glaser refuse to comply

 with his Opinion and Order, contempt and sanctions may be the next step.” Id. at 348 n.70.

        Based on the foregoing, PETA submits the Court may pursue one of two options as it

 relates to Maldonado, Lowe, and Wynnewood. The first option, which PETA asks the Court to

 pursue by this motion, is to hold them in contempt now for aiding and abetting the violation of

 this Court’s July Orders, as the court did in Quinter. And because the Court has “wide

 discretion” when fashioning a remedy for civil contempt, it may then order the individuals



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 (Maldonado and Lowe) imprisoned for a definite period, and the entity (Wynnewood), together

 with the individuals, responsible for PETA’s fees and costs incurred in connection with this

 motion, unless and until they purge themselves of that contempt by arranging for the transfer of

 the DCWT tigers to TWAS and pay PETA’s fees and costs. If past (and current) conduct is any

 indicator of Maldonado’s, Lowe’s and Wynnewood’s intent to comply with an order issued by

 this Court or otherwise respect the serious nature of this proceeding, PETA submits that the

 threat of imprisonment is the only real sanction that will cause them to obey this Court’s orders.

        Under the unique circumstances of this case, where DCWT has not indicated it wants the

 tigers back (and they should not be returned there even if DCWT did want them back), it would

 be a perverse remedy indeed if Maldonado, Lowe, and Wynnewood—DCWT’s aiders and

 abettors who have proclaimed their intent to kill the tigers if they are moved to TWAS—retained

 the tigers. The only rational remedy is to order Maldonado, Lowe, and Wynnewood to arrange

 for the transfer of the tigers to TWAS, which is an established and reputable facility, and the

 only facility that has been identified as willing, able, and ready to accept the DCWT tigers that is

 not before the Court with unclean hands. The same cannot be said of Wynnewood. (ECF No.

 89).

        Alternatively, as a second option, the Court may, as did the courts in Eli Lilly and Enzo

 Biochem, simply order Maldonado, Lowe, and Wynnewood to arrange for the transfer of the

 tigers to TWAS, and if they refuse to do so, then take the “next step” toward contempt and

 sanctions. Like the confidential documents subject to the protective orders in Eli Lilly and Enzo

 Biochem, the tigers are evidence in this case, and this Court may direct that the evidence be

 transferred out of the hands of a non-party that currently possesses that evidence. But because




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 these tigers are also living, breathing beings who are capable of being harmed, a unique and

 special reason exists to order their transfer to ensure their safety, well-being, and protection.

 IV.    A PRESERVATION ORDER IS NECESSARY TO ENSURE THE TIGERS
        REMAIN ALIVE AND ARE NOT SUBJECT TO FURTHER TRANSFER PRIOR
        TO A RULING FROM THE COURT ON THIS MOTION.

        During the pendency of this Motion, the Court should enter an immediate preservation

 order to preserve the tigers. The Court has stated, “[a] federal court may issue preservation

 orders as part of its inherent authority to manage its own proceedings.” Arkin v. Gracey-Danna,

 Inc., No. 8:16-CV-1717-T-35AAS, 2016 WL 3959611, at *1-2 (M.D. Fla., July 22, 2016) (citing

 Pueblo of Laguna v. United States, 60 Fed. Cl. 133, 135-36 (Fed. Cl. 2004)). Preservation orders

 may be extended not only to plaintiffs and defendants, but also to third parties in possession of

 critical evidence. See id. (ordering out-of-state third party to preserve various items of evidence

 during the pendency of the case). The Court referenced two tests adopted by other jurisdictions

 in deciding whether to enter a preservation order.

        First, the Court noted a two prong test “that requires the proponent to demonstrate that

 the order is necessary and not unduly burdensome.” Id. Alternatively, the Court identified a

 three-factor balancing test, which considers: “(1) the level of concern the court has for the

 continuing existence and maintenance of the integrity of the evidence in question in the absence

 of an order directing preservation of the evidence; (2) any irreparable harm likely to result to the

 party seeking the preservation of evidence absent an order directing preservation; and (3) the

 capability of an individual, entity, or party to maintain the evidence sought to be preserved, not

 only as to the evidence’s original form, condition or contents, but also the physical, spatial and

 financial burdens created by ordering evidence preservation.” Id.

        Here, a preservation order is necessary under either test to ensure that the tigers—central

 evidence in, and the subject matter of, this case—remain alive, not otherwise harmed, and not

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 transferred anywhere unless ordered by this Court. Indeed, it is difficult to imagine a need for a

 preservation order more dire, immediate, and certain than the instant case. Absent emergency

 interim relief, the tigers face an enhanced risk of being harmed—Maldonado, Lowe, and

 Wynnewood have a documented history of animal welfare violations that, in at least one recent

 incident, resulted in the death of an escaped tiger, (Exh. 15, USDA Inspection Report), and, even

 more significantly, both Maldonado and Lowe agree that the tigers should be killed prior to

 being moved to TWAS or any sanctuary accredited by GFAS. Orr Decl., ¶ 12; Cochran Decl., ¶

 5(b), Post 2).

         The burden imposed on them by such an order is nonexistent—they already have the

 animals in their possession, so merely requiring them to retain such possession without injuring,

 killing, breeding, or transferring the animals, or separating cubs from their mothers, does not

 increase their burden. Further, even if a preservation order did somehow impose a burden on

 them, such a burden is one they voluntarily assumed when they conspired with DCWT to violate

 this Court’s July Orders and receive the tigers in the first instance. Accordingly, the Court should

 issue an immediate interim preservation order requiring Maldonado, Lowe, and Wynnewood to

 keep the tigers on their premises and unharmed (including by refraining from breeding the

 animals or separating cubs from their mothers) until the resolution of this motion or further court

 order relocating the tigers to an appropriate sanctuary.

 V.      CONCLUSION

         This Court must exercise its inherent authority and issue an order to show cause why

 Maldonado, Lowe, and Wynnewood should not be held in contempt of this Court’s July Orders

 as aiders and abettors to DCWT, and when it finds them in contempt, order Maldonado and

 Lowe imprisoned until they purge themselves of that contempt by arranging for the immediate

 and permanent transfer of the tigers to TWAS and by paying PETA’s attorney’s fees and costs

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 relating to this motion. The Court may also simply order that they arrange for the transfer of the

 tigers to TWAS. Absent such an exercise of authority, Maldonado, Lowe, and Wynnewood will

 surely continue to escalate their interference with this litigation.

 Dated: August 28, 2017                          Respectfully submitted,

                                                /s/ Marcos E. Hasbun
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                                                Trial Counsel for People for the Ethical Treatment
                                                of Animals, Inc.


                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 28th day of August, 2017, I electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF system which will send a Notice of

 Electronic Filing to all counsel of record that are registered with the Court’s CM/ECF system.

 Additionally, on August 28, 2017, I have sent by Federal Express a copy of the DVD referenced

 in Justin Cochran’s Declaration to Defendants’ counsel.



                                                /s/ Marcos E. Hasbun
                                                Marcos E. Hasbun




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